 1   HAYES H. GABLE III
     Attorney at Law
 2
     State Bar No. 60368
 3   1001 G Street, Suite 100
     Sacramento, CA 95814
 4   Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
 5
     hhgable@gmail.com
 6
     Attorney for Defendant
 7   JESUS BRUCE
 8                               IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12

13   UNITED STATES OF AMERICA,                       Case No.: 2:11-cr-00275 JAM
14                  Plaintiff,
15
     vs.                                             Case No.: 2-12-cr-00309 JAM
16
     JESUS BRUCE,
17                                                   AMENDED STIPULATION AND ORDER
                    Defendant.                       RESETTING SENTENCING HEARING
18                                                   FOR DEFENDANT JESUS BRUCE
19

20                                                   Hon. John A. Mendez
21

22

23                                           STIPULATION

24                  Plaintiff, United States of America, by and through its counsel, Assistant United

25   States Attorney Jason Hitt, and defendant Jesus Bruce, by and through his attorney of record,
26
     Hayes H. Gable III, agree and stipulate to vacate the existing sentencing date in the above-
27
     entitled case, August 2, 2016, and to continue the matter to September 13, 2016, at 9:15 a.m.
28                                                   1
 1          Accordingly, the parties request the Court to adopt this stipulation.
 2
            Dated: July 26, 2016
 3

 4
                                              /s/Hayes H. Gable III
 5
                                              HAYES H. GABLE III
 6                                            Attorney for Defendant
                                              JJESUS BRUCE
 7

 8

 9                                            /s/Hayes H. Gable III for________________
                                                JASON HITT
10                                              Assistant United States Attorney
11

12

13                                        ORDER
14
     Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
15

16          1.   The judgment and sentencing hearing for defendant JESUS BRUCE on
17               August 2, 2016, is VACATED; and,
18          2. Judgment and sentencing for defendant JESUS BRUCE is reset for September

19               13, 2016 at 9:15 a.m.

20
     IT IS SO ORDERED.
21
     Date: 7/26/2016                              /s/ John A. Mendez_____________
22                                                JOHN A. MENDEZ
                                                  United States District Court Judge
23

24

25

26

27

28                                            2
